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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

JOHN JOHNSON                                  §    CIVIL ACTION NO.
                                              §
             Plaintiff,                       §
                                              §    DISTRICT JUDGE
VS.                                           §
                                              §
NOBLE DRILLING (US), LLC,                     §    MAGISTRATE
ET AL.                                        §
                                              §
             Defendants.                      §

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Plaintiff’s Original Petition and Request for Disclosure (Exh. B pp. 8-17) 8-10-2022

Service of Process on Shell Offshore Inc. (Exh. A pp. 1-13)              9-1-2022

Service of Process on Shell Oil Company. (Exh. A pp. 14-27)              9-1-2022

Return of Service for Shell Offshore Inc. (Exh. B p. 7)                  9-4-2022

Return of Service for Noble Corporation (Exh. B p. 6)                    9-4-2022

Return of Service for Noble Drilling Services Inc. (Exh. B p. 5)         9-4-2022

Return of Service for Shell Oil Company (Exh. B. p. 4)                   9-4-2022

Return of Service for Noble Drilling (US) LLC (Exh. B p. 3)              9-7-2022

Affidavit of Service for Noble Drilling Holding LLC (Exh. B p. 2)        9-8-2022

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